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Filed 11/30/10 Page 1 of 4

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Sauder Woodworking Co.

UNITED STATES DISTRICT COURT

FOR THE NORTHERN DISTRICT OF CALIFORNIA

Z-LINE DESIGNS, INC.,
Plaintiff,
v.
SAUDER WOODWORKING CO.,

Defendant.

 

 

Z-Lz'ne Designs, Inc. v. Sauder Woodworking Co.
STIPULATION AND ORDER OF DISMISSAL
Case No. CV-10-1735 SI

Case No. CV-10-1735 SI

STIPULATION AND ORDER OF
DISMISSAL OF PLAINTIFF'S
AMENDED COMPLAINT WITH
PREJUDICE, DISMISSAL OF
DEFENDANT'S FIRST AND THIRD
COUNTERCLAIMS WITH PREJUDICE
AND DISMISSAL OF DEFENDANT'S
SECOND AND FOURTH
COUNTERCLAIMS WITHOU'I`
PREJUDICE

Judge: Hon. Susan Illston

 

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WHEREAS the parties to the above litigation have reached a Settlement Agreement and
Release, the parties do hereby stipulate by and through their attorneys to the dismissal of all

claims and counterclaims in the above action, as follows:

Plaintift‘s Amended Complaint and Defendant's First and Third Counterclaims shall be

dismissed With prejudice;

Defendant's Second and Fourth Counterclaims shall be dismissed without prejudice
The Court shall retain jurisdiction to enforce any arbitration order arising from the
Settlement Agreement between the parties.

Each party to bear its own costs and expenses

DATED: November 18, 2010 Respectfully submitted,
TOWNSEND AND TOWNSEND AND CREW LLP

By: /s/Marc M. Gorelm`k
MARC M. GORELNIK

Attorneys for Plaintiff
Z-LINE DESIGNS, INC.

DATED: November 18, 2010 REED SMITH, LLP

By: /s/ James A. Daire
J ames A. Daire

Attorney for Defendant/Counterclaimant
Sauder Woodworking Co.

Z~Line Designs, Inc. v. Sauder Woodworking Co.
STIPULATION AND ORDER OF DISMISSAL 2
CASE NO. CV-10-1735 SI .

 

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PURSUANT TO STIPULATION, IT IS SO ORDERED.

DATED: , 2010.

Z-Line Designs, Inc. v. Sauder Woodworkl`ng C0.
STIPULATION AND ORDER OF DISMISSAL
CASE NO. CV-10-1735 SI

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Judge Susan Illston
United States District Court

 

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Case 3:10-cv-Ol735-S| Document 36 Filed 11/30/10 Page 4 of 4

GENERAL ORDER 45 ATTESTATION

1, Marc M. Gorelnik, am the ECF user Whose lD and password are being used to file this
STIPULATION AND ORDER OF DISMISSAL ln compliance with General Order 45, X.B., 1

hereby attest that J ames A. Daire has concurred in this filing

/S/Marc M. Gorelnik

Z-Line Designs, Inc. v. Sauder Woodworking Co.
STIPULATION AND ORDER OF DISMISSAL 4
CASE NO. CV-10-1735 SI

 

